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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION AT LONDON

 DAVID WILSON, as Administrator of
                                                         CIVIL ACTION NO. 6:17-157-KKC
 the Estate of Lisa Noble, Deceased,
        Plaintiff,

 V.                                                              PRETRIAL ORDER

 BEACON TRANSPORT, LLC and
 TERRAN COOPER,
        Defendants.


       The Court hereby ORDERS as follows:

       1.      No later than twenty-one (21) days before the Pretrial Conference,

counsel shall file the following:

            a. a list of witnesses and exhibits in accordance with the Fed.R.Civ.P. 26(a)(3) and

       the following:

               (i)      the witness lists shall specify those witnesses who will testify at the trial

                        of this action versus those who may testify, in accord with Fed. R. Civ. P.

                        26(a)(3)(A) and shall identify all witnesses who will testify by deposition,

                        specifying the portions of such deposition testimony that will be used at

                        trial, in accord with Fed.R. Civ. P. 26(a)(3)(B);

               (ii)     the witness lists shall also set forth the subject matter of each witness’s

                        testimony and the purpose for which such testimony is offered; and

               (iii)    the exhibit lists shall contain a description of each exhibit in sufficient

                        detail to permit adequate identification thereof, and shall include a list of

                        any demonstrative and/or summary exhibits to be used at trial (including

                        any to be used during opening statements);

            b. any appropriate motions in limine;

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            c. the transcript of all evidentiary depositions to be used at trial along with any

       motions for ruling by the court upon any objection made in any evidentiary deposition

       to be used at trial on which ruling by the court is necessary prior to trial. Any

       objection within any deposition which is not so raised specifically (by citation

       to page number and question number) for ruling by the court shall be deemed

       to be summarily overruled;

            d. a pretrial memorandum brief containing a succinct statement of the facts of the

       case, the issues of fact and the issues of law;

            e. proposed agreed jury instructions. Counsel shall exchange drafts of instructions

       in advance and endeavor to agree; in the absence of agreement, separate instructions

       shall be filed, by the same deadline, including citation to supporting authorities; and

            f.   proposed voir dire questions for the Court’s use.

       2.        No later than fourteen (14) days before the Pretrial Conference, the

parties shall file:

            a. written objections, pursuant to Fed. R. Civ. P. 26(a)(3), to the lists of witnesses

       and exhibits previously filed by any other party. Objections not so disclosed, other than

       objections under Rules 402 and 403 of the Federal Rules of Evidence, shall be deemed

       waived unless excused by the court for good cause shown;

            b. responses to any other party’s motion in limine; and

            c. responses to any other party’s motion for a ruling on any objection made in an

       evidentiary deposition.

       3.        At the Pretrial Conference, counsel for the parties shall be prepared to:

            a. discuss and make possible stipulations of admissibility, or threshold foundation

       requirements for admissibility of exhibits, including authenticity; discuss and make

       stipulations of fact or law which would expedite the trial of this action;

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            b. disclose any demonstrative or summary exhibits intended for use at trial;

            c. display to the court all exhibits intended to be used at trial, which shall already

       be pre-marked in accordance with Local Rule. Counsel shall provide the court with a

       copy of all documentary exhibits. Failure to disclose exhibits to the Court and to

       opposing counsel at the Pretrial Conference shall be subject to sanctions unless good

       cause is shown;

            d. discuss the possibility of settlement; and

            e. advise the Court of anticipated technological issues that may arise at trial.

       4.      The Pretrial Conference shall be attended by all attorneys who will be trying the

case along with the parties and/or representatives.

       Dated August 14, 2017.




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